          Case 1:20-cv-00252-SPB Document 4 Filed 09/02/20 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                ERIE DIVISION

                                               :
                                               :
 HANNAH SILBAUGH,                              :   CIVIL ACTION – LAW
     Plaintiff                                 :
                                               :   Docket No. 1:20-cv-00252-SPB
 v.                                            :
                                               :   Electronically Filed
                                               :
 MARC NELSON, DAVID SMITH,                     :   JURY TRIAL OF 12 DEMANDED
 ANTHONY ATTALLA, JOHN DOE 4,                  :
 JOHN DOE 5, DANIEL SPIZARNY,                  :
 JOSEPH V. SCHEMBER, and CITY OF               :
 ERIE,                                         :
       Defendants                              :


     PLAINTIFF'S BRIEF IN OPPOSITION TO DEFENDANTS' MOTION TO EXTEND
                 TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

        NOW COMES the Plaintiff, Hannah Silbaugh, by counsel and submits the

following Brief in Opposition to the Motion to Extend Time to Plead to Plaintiff’s

Complaint, respectfully representing:

I.      Statement of the Case

        This is a case for declaratory and injunctive relief, and for damages, against

various police officers and City of Erie officials arising out of the unjustified attack on

Plaintiff Hannah Silbaugh on May 30, 2020 when she was viciously kicked by a police

officer of the City of Erie in violation of her rights under the First, Fourth and

Fourteenth Amendments and in violation of state laws against assault and battery. The

City officials, Joseph V. Schember, Mayor and Daniel Spizarny, the Chief of the Bureau

of Police, are named as Defendants based upon their personal involvement in
           Case 1:20-cv-00252-SPB Document 4 Filed 09/02/20 Page 2 of 5




  formulating, establishing and enforcing standards for the proper use of force and for

  their management of the alleged civil disturbance occurring on May 30th.

         Plaintiff initiated this case in state court by the issuance of a Summons to the

  Defendants, several of whom were named as “John Doe” because the City refused to

  divulge their names. (Doc. 1-1). The Writ was properly served and with it, Plaintiff

  served Interrogatories and Requests for Production of Documents (attached to Doc. 1-6,

  Motion for Protective Order). The Writ of Summons and discovery requests were served

  upon Defendants on June 23, 2020 (Doc. 1-4). Plaintiff filed her Complaint less than a

  week after the Defendants responded to her discovery requests on August 12, 2020.

         Prior to the filing of the Complaint, Plaintiff had filed a complaint with the City

  (attached to the Motion for Protective Order filed by the City, Doc. 1-6). The letter,

  delivered June 2, 2020 detailed the facts of the incident.

 II.     Statement of the Question Presented

         HAVE DEFENDANTS DEMONSTRATED GOOD CAUSE WITHIN THE
         MEANING OF F.R.CIV.P. 6(b) FOR A 60-DAY EXTENSION TO
         PLEAD?

         (Suggested answer in the negative)
         IS THE DEFENDANTS’ REQUEST FOR A SIXTY-DAY EXTENSION
         REASONABLE?

         (Suggested answer in the negative)


III.     Argument

         A. Defendants have failed to demonstrate good cause to extend the

         time to plead.




                                               2
             Case 1:20-cv-00252-SPB Document 4 Filed 09/02/20 Page 3 of 5




          Federal Rule of Civil Procedure 6(b)(1) permits an extension of time to be granted

“for good cause”. Extending time is always discretionary, and is not required even with

good cause. Ott v. Federal Home Loan Mortg. Corp., 535 Fed. Appx. 488, 489 (6th Cir.

2013), Maldonado-Denis v. Castillo-Rodriguez, 23 F3.d 576 (1st Cir. 1994).

          Good cause must be shown before an enlargement of time is granted. Lujan v.

National Wildlife Federation, 497 US 871, 896, 110 S. Court S. Ct. 3177, 3192, 11 L. Ed.

2.d 695 (1990). In this case, Defendants have offered no good cause for the requested

extension and, especially, no good cause for the two-month extension (on top of the

three weeks they have already had the Complaint and the three months they have been

aware of Plaintiff’s claims).

          The only “cause” offered by the Defendants is that the Plaintiff allegedly refused

to extend the time.1 The Defendants do not complain that the issues presented in this

case are particularly unique or troublesome, or that the facts are not clear or require

further investigation2.

          In the absence of good cause, this Court should exercise its discretion to deny the

Motion and require Defendants to file their response in accordance with the rules.

          B. Defendants’ request for a two-month extension is excessive.

          Given that the Defendants offer no good cause for requesting an extension in the

    first place, and the fact that they have already secured a delay by filing their Motion to


1Counsel did not deny the request, but requested an explanation of the need for it, which was never
supplied.

2This matter has been investigated by the City of Erie Bureau of Police Internal Affairs and the Erie
County Office of District Attorney, both of which interviewed a number of witnesses and examined
documents and videos pertinent to the case.

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           Case 1:20-cv-00252-SPB Document 4 Filed 09/02/20 Page 4 of 5




  Extend, the deadline having passed, they now request an additional two months from

  the date of the entry of this Court’s ruling on its Motion.

        To the extent the Court divines some good cause in the Defendants’ Request,

  Plaintiff submits that it cannot justify the length of the extension requested.

        Although the rules provide for a waiver of service, that rule does not apply to this

  case, nor does Plaintiff’s counsel make a habit of invoking that procedure due to the

  excessive delay it causes in getting the case moving. Even had the case been filed in

  federal court, counsel would gladly have expended the $35 to have it served by a

  Constable in order to shorten the response time.

        Should this Court decide to exercise its discretion in favor of the Defendants,

  Plaintiff submits that a much briefer extension, in the neighborhood of twenty days

  could be justified.

IV.     Conclusion

        In light of the fact that the Defendants have not offered good cause for their

  extension request, the request should be denied. Even if the request is granted, the




                                               4
        Case 1:20-cv-00252-SPB Document 4 Filed 09/02/20 Page 5 of 5




     sixty-day period requested is patently excessive and Defendants should be able to

formulate their response in less than twenty days.

                                        Respectfully submitted,


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